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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                     CASE NO.: 1:18-CV-21173
 JENNIFER WILLIS,

        Plaintiff,

 v.

 NCL (BAHAMAS) LTD.,

        Defendant.
                                              /

                                COMPLAINT FOR DAMAGES
                               AND DEMAND FOR JURY TRIAL

        Plaintiff, JENNIFER WILLIS, by and through undersigned counsel, hereby sues

 Defendant, NCL (BAHAMAS) LTD. (“NCL”), for damages and alleges:

                                PRELIMINARY ALLEGATIONS

 1.     This is an action for personal injuries under general maritime law seeking damages in

 excess of $75,000.00 (Seventy-Five Thousand Dollars), exclusive of costs, attorneys’ fees and

 interest and is otherwise within the jurisdiction of this Court.

 2.     At all material times, Plaintiff JENNIFER WILLIS was and is a resident of Ohio.

 3.     At all material times, Defendant NCL was and is a for profit corporation with its worldwide

 headquarters, principal address and principal place of business at 7665 Corporate Center Drive,

 Miami, FL 33126.

 4.     At all material times, Defendant NCL is a common carrier engaged in the business of

 marketing, selling and operating a cruise line out of various ports within the continental United

 States, including the Port of Miami. Defendant NCL derives substantial revenues from cruises

 originating and terminating in various ports in the State of Florida, including the Port of Miami.


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 5.      At all material times, Defendant, personally or through an agent:

         a. Operated, conducted, engaged in or carried on a business venture in this state and/or
            county or had an office or agency in this state and/or county;

         b. Was engaged in substantial activity within this state;

         c. Operated vessels in the waters of this state;

         d. Committed one or more of the acts stated in Florida Statutes §§ 48.081, 48.181 or
            48.193;

         e. The acts of Defendant set out in this Complaint occurred in whole or in part in this
            county and/or state.

 6.      Defendant is subject to the jurisdiction of the courts of this state.

 7.      This action is being pursued in this Court, as opposed to state court as otherwise allowed

 by the Savings to Suitors Clause under 28 U.S.C. § 1333 because Defendant NCL unilaterally

 inserts a forum selection clause into its cruise ticket contract that requires its passengers file cruise-

 related suits only in this federal district and division, as opposed to any other place in the world.

 8.      The causes of action asserted in this Complaint arise under the General Maritime Law of

 the United States.

                                    GENERAL ALLEGATIONS

 9.      At all material times, Defendant owned, operated, managed, maintained and/or controlled

 the vessel, the Norwegian Breakaway.

 10.     At all material times, Defendant had exclusive custody and control of the vessel, the

 Norwegian Breakaway.

 11.     NCL invited the general public, including the Plaintiff, JENNIFER WILLIS, to become

 passengers of the vessel Norwegian Breakaway in exchange for a monetary charge.

 12.     On or about June 20, 2017, the Plaintiff, Jennifer Willis, was a fare paying passenger and

 lawfully aboard the Norwegian Breakaway.


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 13.     NCL made available and invited its passengers, including the Plaintiff JENNIFER

 WILLIS, to participate in the Aqua Park amenities.

 14.    Upon information and belief, there have been prior incidents aboard NCL’s cruise ships

 where passengers have been injured on the waterslides.

 15.    On June 20, 2017, the Plaintiff, JENNIFER WILLIS, sat in the waterslide aboard the

 Norwegian Breakaway, and her foot slid on the slide’s surface resulting in a right ankle fracture

 and surgery.

                                    COUNT I: NEGLIGENCE

        The Plaintiff realleges, adopts, and incorporates by reference the allegations in paragraphs

 one (1) through fifteen (15) as though alleged originally herein.

 16.    At all material times, Defendant NCL through its employees, servants, agents, and/or

 representatives acting within the course and scope of their employment, owed a duty to exercise

 reasonable care under the circumstances to its passengers, including Plaintiff JENNIER WILLIS.

 17.    On or about June 20, 2017, Defendant NCL, through its employees, servants, agents and/or

 representatives acting within the course and scope of their employment, breached their duty to

 exercise reasonable care under the circumstances, and were negligent by committing the following

 acts or omissions including, but not limited to:

        a. Failure to have an adequate number of crew supervising passenger activity in the
           Waterslide Area;

        b. Failure to promulgate and/or enforce adequate rules and procedures for the reasonably
           safe usage by passenger participants of the Aqua Park waterslides;

        c. Failure to promulgate and/or enforce adequate rules and procedures to reduce
           passenger-participant injuries in the Aqua Park waterslides;

        d. Failure to station crewmembers or lookouts along the ride to ensure the reasonably safe
           operation of the Aqua Park waterslides;



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        e. Failure to adequately monitor and control passenger activity and attire in the Aqua Park
           waterslides;

        f. Failure to develop, promulgate, maintain and/or follow proper safety policies,
           procedures and protocols to ensure the reasonably safe use of the Aqua Park
           waterslides;

        g. Failing to provide adequate supervision to employees/agents who operated the Aqua
           Park waterslides when Defendant knew, or should have known, that improper,
           negligent, careless, incompetent, incapable, and/or recklessly given instructions would
           likely result in serious injury to the rider;

        h. Failure to properly and adequately instruct, train and supervise employees and/or
           agents to ensure the reasonably safe operation of the Aqua Park waterslides;

        i. Failure to adequately warn Plaintiff and other passengers of the danger of getting in the
           Aqua Park waterslides and what to do if a problem should arise;

        j. Failure to provide timely and/or adequate assistance to the Plaintiff while on the
           waterslide;
        k. Failure to respond adequately to prior similar incidents and take corrective measures to
           prevent the reoccurrence of the problem(s);

        l. Failure to warn Plaintiff and other passengers of prior similar incidents; and/or

        m. Failure to warn Plaintiff of the high frequency of incidents in which passenger-
           participants have become injured in the Defendant’s shipboard waterslides.

 18.    At all material times, Defendant knew of the foregoing conditions causing Plaintiff’s

 incident and did not correct them, or the conditions existed for a sufficient length of time so that

 Defendant in the exercise of reasonable care should have learned of them and corrected them.

 19.    At all material times, Defendant NCL willfully and recklessly disregarded the safety of its

 passengers, including the Plaintiff, JENNIFER WILLIS, while travelling aboard the Norwegian

 Breakaway. Specifically, there have been prior similar incidents, such that NCL’s refusal to

 remedy the dangerous condition amounts to a reckless disregard for the safety of its passengers.

 20.    As a direct and proximate result of the above described negligence and recklessness by

 Defendant NCL, JENNIFER WILLIS was injured about Plaintiff’s body and extremities, suffered


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 physical pain, mental anguish, loss of enjoyment of life, disability, disfigurement, aggravation of

 any previously existing conditions therefrom, incurred medical expenses in the care and treatment

 of injuries and suffered physical handicap. The injuries are permanent or continuing in nature, and

 Plaintiff will suffer the losses and impairments in the future. In addition, Plaintiff lost the benefit

 of the vacation, cruise, and transportation cost.

         WHEREFORE, Plaintiff, JENNIFER WILLIS, demands judgment against Defendant

 NCL for all damages entitled by law, including punitive damages, and demands a jury trial of all

 issues so triable.



 Dated: March 28, 2018



                                                        Respectfully submitted,

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